        1:20-cv-01972-SAL          Date Filed 11/09/21   Entry Number 96       Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                     AIKEN DIVISION

 Walter Glass,                                              Case No.: 1:20-01972-SAL

                      Plaintiff,

 v.
                                                                      ORDER
 Jasmine Hill, Tyatta Davis, and Wali Khan,



                      Defendants.




      On May 3, 2021, Magistrate Judge Shiva V. Hodges properly forwarded this matter to the court

as the parties had failed to file dispositive motions by April 30, 2021, and the case was deemed

ready for trial. [ECF No. 63.] However, on July 28, 2021, this court excused Plaintiff’s late-filed

Motion for Summary Judgment, ECF No. 75, and issued an amended scheduling order extending

the deadline for motions until September 15, 2021. Both parties have since filed timely Motions

for Summary Judgment. [ECF Nos. 84, 88.]

      As a result, the court recommits this case to the Magistrate Judge pursuant to 28 U.S.C. §

636(b)(1) for issuance of a report and recommendation on the dispositive pre-trial motions.

         IT IS SO ORDERED.

                                                             /s/Sherri A. Lydon
         November 9, 2021                                    Sherri A. Lydon
         Florence, South Carolina                            United States District Judge




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